                                                     August 11, 2024

By ECF

Hon. Anne M. Donnelly
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     Sylla, et al. v. Amazon Labor Union et al.
                       Civil Case No. 23-05261 (AMD)
                       Letter Motion for An Order Certifying Election and Discontinuing Case

Dear Judge Donnelly:

       Finally, after a long, contentious process, the election agreed to in the Consent Order of
January 4, 2024 has been held. The count was on July 30, 2024, and the results were certified by
the Honest Ballot Association on August 8 (see Exhibit A to the accompanying Declaration) .
The Neutral Monitor had decreed that the winners were to take office on July 31, 2024 see
Exhibit B) . We are writing to have an Order entered certifying the results and the election of
various candidates as the Executive Officers of the Amazon Labor Union (now known as ALU-
IBT Local 1), and members of the Constitution/Bylaws Revision Committee. The Order we
propose would also Discontinue the Litigation, but for an application for Attorney’s Fees.

       We request that you allow us to do this by letter given the non-controversial nature of the
request being made.

       Thank you for your supervision of this matter.

                                                     Respectfully submitted,

                                                      /s/ Arthur Z. Schwartz
                                                     Arthur Z. Schwartz


cc:    Jeanne Mirer, Esq. (via ECF)
       Richard Levy, Esq.
